          Case 2:17-cv-00158-JRG-RSP Document 11-3 Filed 04/11/17 Page 1 of 4 PageID #: 4/11/17,
RPX Data Update: In Q1 2017, Familiar Plaintiﬀs Abound | RPX Corp Site                   130 7:41 AM




   RPX Data Update: In Q1 2017, Familiar
   Plaintiﬀs Abound
   April 3, 2017

   « Back to insights (www.rpxcorp.comhttps://www.rpxcorp.com/insights/)


   In the first quarter of 2017, more than 850 defendants were added to patent litigation
   campaigns—just over 500 of them in NPE cases. The three most frequent NPE
   plaintiffs during Q1 each appeared among last year’s Top NPEs
   (www.rpxcorp.comhttps://www.rpxcorp.com/2017/01/03/rpx-data-
   update-patent-litigation-volatility-persists-as-strategies-shift/): IP Edge
   LLC (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1034412-ip-edge-
   llc); Leigh M. Rothschild
   (www.rpxcorp.comhttps://search.rpxcorp.com/ent/352299-leigh-m-
   rothschild); and Monument Patent Holdings, LLC
   (www.rpxcorp.comhttps://search.rpxcorp.com/ent/968190-monument-
   patent-holdings-llc).

   Total Defendants Added in Campaigns (Quarterly)




https://www.rpxcorp.com/2017/04/03/rpx-data-update-in-q1-2017-familiar-plaintiﬀs-abound/     Page 1 of 4
          Case 2:17-cv-00158-JRG-RSP Document 11-3 Filed 04/11/17 Page 2 of 4 PageID #: 4/11/17,
RPX Data Update: In Q1 2017, Familiar Plaintiﬀs Abound | RPX Corp Site                   131 7:41 AM




   (www.rpxcorp.comhttps://www.rpxcorp.com/wp-
   content/uploads/sites/2/2017/04/v2-2017-Q1-quarterly.png)

   IP Edge far outstripped other NPEs at the end of 2016, and early 2017 numbers
   suggest that its level of activity, relative to the rest of the pack, has continued
   unabated, with apparent affiliates of the firm having filed at least one campaign in
   each of the last six months:

      Kaldren LLC
      (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1186504-kaldren-
      llc)                             QR codes                                     March 2017
      RICPI Communications LLC
      (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1176715-ricpi-
      communications-llc) Two-way radios                                                   February 2017
      Drogo IP LLC
      (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1149846-drogo-ip-
      llc)                           Medical diagnostic devices                      January 2017
      Micoba LLC (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1112137-
      micoba-llc)                                       File-syncing services                 December 2016
      Serenitiva LLC
      (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1104543-serenitiva-
      llc)                         CRM software                                   November 2016
      Guada Technologies LLC

https://www.rpxcorp.com/2017/04/03/rpx-data-update-in-q1-2017-familiar-plaintiﬀs-abound/                      Page 2 of 4
          Case 2:17-cv-00158-JRG-RSP Document 11-3 Filed 04/11/17 Page 3 of 4 PageID #: 4/11/17,
RPX Data Update: In Q1 2017, Familiar Plaintiﬀs Abound | RPX Corp Site                   132 7:41 AM


      (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1110568-guada-
      technologies-llc)                       Media search features                        October 2016
      Bartonfalls LLC
      (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1109337-bartonfalls-
      llc)                        Video channel changing                          October 2016

   Entities controlled by prolific inventor Rothschild not only added defendants to
   existing campaigns but also launched two new ones in Q1, through Rothschild
   Biometric Systems, LLC
   (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1130406-rothschild-
   biometric-systems-llc) (user verification, January 2017) and Location Based
   Services, LLC
   (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1130407-location-
   based-services-llc) (GPS navigation, February 2017). So did NPEs affiliated with
   Monument (and related monetization firm Dominion Harbor Group, LLC): Blue Sky
   Networks, LLC
   (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1117239-blue-sky-
   networks-llc) (Bluetooth-enabled devices, February 2017) and Wireless Switch
   IP, LLC (www.rpxcorp.comhttps://search.rpxcorp.com/ent/1108664-
   wireless-switch-ip-llc) (mobile devices with Wi-Fi, March 2017).

   As is also typical, included among the new litigation filed and assignments recorded
   with the US Patent and Trademark Office during Q1 2017 are many involving patents
   passing to or from Intellectual Ventures LLC (IV).

   For example, Monument received the patents at issue in both the Blue Sky Networks
   and Wireless Switch IP campaigns from IV. The December 2016 transfer to Blue Sky
   was recorded in Q1. Various assignments to apparent IV affiliates from operating
   companies include the following:

      Multiple families of radio transmission, communications protocols, and cellular
      communications patents from Panasonic (transferred in December 2016 and
      recorded in January);

https://www.rpxcorp.com/2017/04/03/rpx-data-update-in-q1-2017-familiar-plaintiﬀs-abound/                  Page 3 of 4
          Case 2:17-cv-00158-JRG-RSP Document 11-3 Filed 04/11/17 Page 4 of 4 PageID #: 4/11/17,
RPX Data Update: In Q1 2017, Familiar Plaintiﬀs Abound | RPX Corp Site                   133 7:41 AM


      multiple families of patents generally related to memory, bus communications,
      semiconductor fabrication, data storage, fault tolerance in computer systems, digital
      delay lines, and radiation sensitive cells from Honeywell (transferred in December
      2016 and recorded in February); and

      three mobile payment patents from Mocapay (transferred and recorded in January),
      adding to the set of similar patents already transferred between the two companies
      in December 2016.




https://www.rpxcorp.com/2017/04/03/rpx-data-update-in-q1-2017-familiar-plaintiﬀs-abound/     Page 4 of 4
